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UNITED STATES DISTRICT COURT
OF THE SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
P.F.,                                                                       24-CV-02333 (PMH)
                                     Petitioner,
                                                                            AFFIRMATION OF
                                                                            SERVICE
                           against-


Y.F.,
                                    Respondent,
--------------------------------------------------------------X


         MENACHEM WHITE, ESQ., an attorney duly admitted to practice before the courts of

the state of New York, affirms under the penalties of perjury

         1.        I am not a party to the above captioned action, and I am over 18 years of age and

have an office in Woodmere, New York. I am also an attorney, duly licensed to practice law in the

State of New York and I am admitted in the Southern District of New York Federal Court.

              2.       On March 11, 2025, I served The Order to Show Cause with Attached Exhibits

and other documents related to the instant case on the Respondent by sending said documents via

electronic mail (email) to the Respondent, yyfelberbaum@gmail.com.



                                                                     ___________________
                                                                     Menachem White, Esq.
